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                              UNITED STATES DISTRICT COURT
                                MINUTES OF PROCEEDINGS

NEWARK                                                      DATE: JANUARY 13, 2015


Judge: Hon. WILLIAM H. WALLS
Court Reporter: John Stone
Deputy Clerk: Ellen Mc Murray

Title of Case:                                                   Cr.02-714 (WHW)

USA V. SALOMON CAMACHO-MORA

Appearances:

Adam N. Subervi, AUSA
William A. Clay, Esq. (Retained)
Renee Caggia, US Prob. Officer
Irene Caramuta, Interpreter

Nature of proceedings:               SENTENCING

Defendant committed to the custody of the BOP for (132) months.
Supervised Release for (2) years.
Court directs that the immediate medical attention to the
defendant be applied , particularly having a biopsy done as to
defendant’s reading of prostrate levels and that he be given a
thorough medical examination.

Defendant excused from mandatory drug testing

SPECIAL CONDITIONS:

COOPERATE WITH CUSTOM OFFICIALS
Fine Waived
Special Assessment fee of $100.00
Court directs that defendant be designated to a Federal Medical Facility

                                                              Ellen Mc Murray
                                                          Sr. Court Room Deputy
Time Commenced: 10:15 am
Time Adjourned: 11:00 am
